Case 3:09-cr-30026-DRH        Document 35       Filed 04/14/09     Page 1 of 4      Page ID #52




                       N THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

       Plaintiff,

       v.                                                Crim No.: 09-30026-DRH

WILLIAM MADISON,

       Defendant.

                                            ORDER


HERNDON, Chief Judge:

A. Order for Detention

    On April 7, 2009, Defendant Madison filed a motion for De Novo review of detention Order
    (Doc. 31). That same day, the Court set this matter for hearing (Doc. 33). Thereafter, on
    April 13, 2009, after conducting a de novo detention hearing pursuant to 18 U.S.C. § 3142(f)
    of the Bail Reform Act, the Court ORDERS Madison detained pursuant to 18 U.S.C. §
    3142(e) and (i).

B. Statement of Reasons for the Detention

   The Court orders the defendant's detention because it finds:
       By a preponderance of the evidence that no condition or combination of conditions will
       will reasonably assure the appearance of the defendant as required.
    X By clear and convincing evidence that no condition or combinations of conditions will
       reasonably assure the safety of any other person and the community.

C. Findings of Fact

   The Court's findings are based on the evidence which was presented in Court and that which
  was contained in the Pretrial Services Report, and includes the following:
    X 1. Nature and circumstances of the offense charged:
          X a. The crime:

                Count 3:
                        Distribution of a Controlled Substance (“Crack” Cocaine) in
                violation of 21 U.S.C. § 841(a)(1).

                                          Page 1 of 4
Case 3:09-cr-30026-DRH       Document 35        Filed 04/14/09     Page 2 of 4      Page ID #53




               Penalty:
                      Not less than 5 years and not more than 40 years imprisonment, a
               $2,000,000 fine, or both and at least 4 years supervised release.



           b. The offense is a crime of violence.
           c. The offense is a Federal Crime of terrorism.
           d. The offense involves a minor victim.
           e. The offense involves a narcotic drug.
           f. The offense involves a controlled substance, firearm, explosive or destructive
           device.
           g. The offense involves a large amount of controlled substance, to wit: 5 grams or
         X more of “Crack” cocaine.

   X 2. The weight of the evidence against the defendant is high.
   X 3. The history and characteristics of the defendant including:
           a. General Factors:
                  The defendant appears to have a mental condition which may affect whether
                  the defendant will appear.
                  The defendant has no family ties in the area.
               X The defendant has no steady employment.
               X The defendant has no substantial financial resources.
                  The defendant is not a long-time resident of the community.
                  The defendant does not have any significant community ties.
                  Past conduct of the defendant:

               X The defendant has a history relating to drug abuse
                  The defendant has a history relating to alcohol abuse.
               X The defendant has a significant prior criminal record.
               X The defendant has a prior record of failure to appear at court proceedings.
            b. Whether the defendant was on probation, parole, or release by a court:
               At the time of the current arrest, the defendant was on:
                  Probation
                  Parole
                  Release pending trial, sentence, appeal or completion of sentence.
            c. Other Factors:
                  The defendant is an illegal alien and is subject to deportation.
                  The defendant is a legal alien and will be subject to deportation if convicted.
                  Other:

   X 4. The nature and seriousness of the danger by the defendant's release are as follows:


                                         Page 2 of 4
Case 3:09-cr-30026-DRH         Document 35        Filed 04/14/09     Page 3 of 4         Page ID #54




          The Defendant previously failed to comply with the conditions of his supervised
          release while under federal supervision and had said supervision revoked.

       5. Rebuttable Presumptions
          The Court finds that Defendant is subject to and has not rebutted the rebuttable
          presumption that no condition or combination of conditions will reasonably assure the
          appearance of Defendant as required and the safety of any other person and the
          community as set forth in 18 U.S.C. 3142(e). In determining that Defendant is subject
          to the rebuttable presumption(s) set forth in 18 U.S.C. § 3142(e), the Court finds:
             (A) Probable cause to believe that Defendant committed a controlled substance
             offense for which a maximum term of imprisonment of 10 years or more is
          X prescribed under Titles 21 or 46; or
              (B) Probable cause to believe that Defendant committed an offense under 18
             U.S.C. § 942(c); or



          X (C) The Defendant is charged with
                    (1) A Crime of violence; or
                    (2) A crime for which the maximum penalty is either death or life
                   imprisonment; or
                    (3) A drug offense for which the maximum penalty is 10 years of
                X imprisonment or more;
                    (4) Any felony if the defendant has been convicted of two or more offenses
                   described in subparagraphs (1) through (3) above (or the state or local
                   equivalent or any combination of such offenses;
                and the Defendant has a prior conviction of one of the crimes described in
                subparagraphs (1) through 3) above, and said conviction, or the release from
                imprisonment therefor, is less than five years old and was committed while the
                defendant was on pre-trial release.

       The Court, in finding that there are no conditions or combination of conditions which
reasonably will assure the defendant's appearance and the safety of any other person and the
community, has considered and rejected alternatives. Among the alternatives considered, the
Court has rejected house arrest and a daily reporting scheme. In rejecting these alternatives, the
Court notes the gravity of the offense and the substantial penalties which may possibly be
imposed.

D. Additional Directives

Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs that:

       The defendant be committed to the custody of the Attorney General for
       confinement in a corrections facility separate, to the extent practicable, from

                                           Page 3 of 4
Case 3:09-cr-30026-DRH        Document 35        Filed 04/14/09      Page 4 of 4      Page ID #55




      persons awaiting or serving sentences or being held in custody pending appeal;
      and

      The defendant be afforded reasonable opportunity for private consultation with
      his counsel; and

      That, on order of a court of the United States, or on request of an attorney for the
      Government, the person in charge of the corrections facility in which the
      defendant is confined deliver the defendant to a United States Marshal for the
      purpose of an appearance in connection with court proceedings.

      IT IS SO ORDERED.

DATED: April 13, 2009
                                                    /s/      DavidRHer|do|
                                                    Chief Judge
                                                    United States District Court




                                                4
